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         EXHIBIT A
                         E-FILED Baltimore County Circuit Court 5/31/2022 3:33 PM System System
                                                                                   E-FILED; Baltimore County Circuit Court
                        CIRCUIT
                       Case       COURT FOR BALTIMORE
                             1:22-cv-01532-ELH    Document 1-1       Filed
                                                                 COUNTY,
                                                                Docket:     06/22/22
                                                                         5/31/2022      Page
                                                                                    Main:
                                                                                   3:33 PM;     2 of 11 5/31/2022 3:33 PM
                                                                                          410'887'2601
                                                                                             Submission:
                         MARYLAND
        .1:
                         401 Bosley Avenue, P.O. Box 6754
                         Towson, MD 21285-6754


                  To: WALMART INC.
                      SERVE ON: RESIDENT AGENT:
                      THE CORPORATION TRUST, INC.
                      2405 YORK ROAD, SUITE 201
                      LUTHERVILLE-TIMONIUM, MD 21093

                                                                        Case Number:                               C-03-CV-22000671
                                                           Other Reference Number(s):
                                                   Child Support Enforcement Number:

AMETHYST CALDWELL VS. WALMART INC.
                                                                                                                   Issue Date: 5/31/2022
                                                        WRIT OF SUMMONS
      You are hereby summoned to ﬁle a written response by pleading or motion, Within 30 days after service of this
summons upon you, in this court, to the attached complaint ﬁled by:

              AMETHYST K. CALDWELL
              56 King Henry Circle
              Baltimore, MD 21237

              This summons is effective for service only   if served within 60 days after the date it is issued.

                                                                      x- 5mi
                                                                  W2
                                                                   L.
                                                              Julie Ensor
                                                              Clerk of the Circuit Court


To the person summoned:
    Failure to ﬁle a response within the time allowed may result in a judgment by default or the granting of the relief
sought against you.
   Personal attendance in court on the day named is NOT required.

Instructions for Service:

    1. This summons is effective for service only if served within 60 days after the date issued. If it is not served within
       the 60 days, the plaintiff must send a written request to have it renewed.
    2. Proof of Service shall set out the name of the person served, date and the particular place and manner of service.
              If service is not made, please state the reasons.
    3         Return of served or unserved process shall be made promptly and in accordance with Maryland Rule 2-126.
    4.        If this notice is served by private process, process server shall ﬁle a separate afﬁdavit as required by Maryland
              Rule 2-126(a).




CC-CV-032 (Rev. 11/23/2020)                                  Page   1   of 2                                       05/31/2022 3:30 PM
                       Case
CC-CV-032 (Rev. 11/23/2020)
                                            1:22-cv-01532-ELH
                                                      Page 2 of 2 Document 1-1 Filed05/31/2022
                                                                                       06/22/223:30 PM
                                                                                                       Page 3 of 11




          126(a).
     4.   If this summons is served by private process, process server shall ﬁle a separate afﬁdavit as required by Rule 2-
     3.  Return of served or unserved process shall be made promptly and in accordance with Rule 2-126.
         If service is not made, please state the reasons.
    2. Proof of Service shall set out the name of the person served, date and the particular place and manner of service.
         60 days, the plaintiff must send a written request to have it renewed.
     l. This Summons is effective for service only if served within 60 days after the date issued. If it is not served within
Instructions to Sheriff's Ofﬁce or Private Process Server:

                                                         Date                 Signature of serving Sheriff




Sheriff fee:   $                                                    D waived by

                                                                                                               Please specify

                       D Address not in jurisdiction      D Other
                       D Moved left no forwarding address D No such address
          (2) Was unable to serve because:

                                                          Please specify
                       D Other
                       D Petition and Show Cause Order                               D Interrogatories
                       D Motions                                                     D Financial Statement
                       D Complaint                                                   D Domestic Case Information Report
                       D Summons                                                     D Counter-Complaint
                                                                                Manner of service
                                                    by                                                                     with the following:
                          Date of service                                                        Location of service
on                                                  at
                                                                           Name of person served
           (1) Served

County Sheriff' s ofﬁce present to the court that I:
                   Serving Sheriff's Name
                                                   ID#                                  of the
To: WALMART INC.

                                                           (please print)
                                                    SHERIFF'S RETURN
Amethyst Caldwell vs. Walmart Inc.                                                                    Case Number: C-03-CV-22-000671
                                                                                                       Circuit Court for Baltimore County
                                                                       E-FILED; Baltimore County Circuit Court
        Case 1:22-cv-01532-ELH Document 1-1  Filed
                                         Docket:    06/22/22
                                                 2/19/2022 8:04 Page 4 of 11 2/19/2022 8:04 PM
                                                                PM; Submission:




                   IN THE CIRCUIT COURT FOR BALTIMORE COUNTY

AMETHYST K. CALDWELL                         *
56 King Henry Circle
Baltimore, Maryland 21237                    *

       Plaintiff                             *
v.
                                             *                      C-03-CV-22-000671
WALMART INC.                                         Case No.:
701 South Walton Blvd.                       *
Bentonville, Arkansas 72716
                                             *
SERVE ON:
Resident Agent:                              *
The Corporation Trust, Inc.
2405 York Road, Suite 201                    *
Lutherville-Timonium, Maryland 21093
                                             *
       Defendant

*      *       *      *   *    *    *   *    *    *    *                            *       *
                     COMPLAINT AND DEMAND FOR JURY TRIAL

       The Plaintiff Amethyst K. Caldwell, by her attorneys Timothy M. Gunning, John M.

McGraw and Wyatt & Gunning LLC, hereby sues the Defendant Walmart Inc. (“Defendant

Walmart”), on the grounds and in the amounts set forth below:

                          PARTIES, JURISDICTION AND VENUE

       1.      Plaintiff Amethyst K. Caldwell (hereinafter "Plaintiff") is a resident of Baltimore

County, Maryland.

       2.      Defendant Walmart is a Delaware corporation, with its principal offices located in

Bentonville, Arkansas, duly registered and in good standing to do business in Maryland.

       3.      Defendant Walmart operates numerous for-profit big box brick and mortar retail

stores throughout Maryland, including at least three in Baltimore County.

       4.      The incident at issue in this case occurred in Baltimore County, Maryland.
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        5.      Jurisdiction in this Court is proper under Courts & Judicial Proceedings Article

§6-102 and §6-103, Annotated Code of Maryland.

        6.      Venue in this Court is proper under Courts & Judicial Proceedings Article §6-201

and §6-202, Annotated Code of Maryland.

                                 FACTS COMMON TO ALL COUNTS

        7.      Plaintiff incorporates all preceding allegations of this Complaint as if set forth

fully herein.

        8.      On February 25, 2019, Plaintiff was shopping at the Walmart store located at 6420

Petrie Way, White Marsh, Maryland 21237 (also referred to as Walmart Supercenter #3489,

hereinafter “The Walmart Store”).

        9.      At the aforementioned time and place, Plaintiff was walking through the

designated customer and public areas inside The Walmart Store, during normal business hours.

        10.     At the aforementioned time and place, an employee and/or agent of Defendant

Walmart was inside The Walmart Store in the same area where Plaintiff was, moving certain

pallets used to transport retail merchandise for sale within The Walmart Store.

        11.     The Defendant’s employee and/or agent was using a heavy industrial piece of

equipment, such as a fork-lift or pallet jack device designed for interior use, to move large

quantities of the above-described pallets.

        12.     At the aforementioned time and place, the Defendant’s employee and/or agent

carelessly, recklessly and negligently caused said piece of heavy equipment to collide with a

stack of boxes containing sixty-five inch (65”) big screen television sets. The force of the

collision knocked over the stack of big screen television set boxes, causing the stack of big boxes

to fall over toward Plaintiff.



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       13.      In an effort to protect herself, Plaintiff held her hand out in an attempt to stop the

falling big screen television boxes from crashing into her.

       14.      Despite Plaintiff’s aforementioned efforts to protect herself, the falling heavy

television set boxes fell into the Plaintiff, injuring her finger and hand in the process.

       15.      As a result of the heavy sixty-five inch (65”) television set boxes falling into

Plaintiff as described above, Plaintiff felt immediate pain in her dominant right hand and finger.

       16.      As a direct and proximate result of the heavy television set boxes crashing into

Plaintiff, Plaintiff suffered serious and permanent injuries and damages, described below.

       17.      At all times relevant to this Complaint, Defendant Walmart, as the owner, lessor,

possessor, operator and/or manager of The Walmart Store where Plaintiff was injured as

described above, owed Plaintiff a duty to use reasonable care to maintain and operate The

Walmart Store safely, and to protect her against any and all unreasonable risks, which she, by

exercising ordinary care, could not discover.

       18.      Defendant Walmart’s employee and/or agent committed within the scope of her

employment and/or agency for Defendant Walmart the aforementioned negligent acts or

omissions concerning her operation of the fork-lift or pallet jack device, as described above, and

Defendant Walmart is therefore liable to the Plaintiff for the resulting injuries and damages she

suffered.

                                   COUNT I – NEGLIGENCE

       19.      Plaintiff incorporates all preceding allegations of this Complaint as if set forth

fully herein.




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       20.       At all times relevant to this case, Defendant Walmart owned, leased, possessed,

maintained, controlled, operated and/or managed The Walmart Store and its business premises

where Plaintiff was as a customer of said business.

       21.       At all times relevant to this case, Defendant Walmart had control over the retail

store and its operation and premises where the above-described incident occurred.

       22.       At all times relevant to this case, Defendant Walmart planned, organized, placed

and maintained the display of its merchandise, including the boxes of big screen television sets

that were pushed over into Plaintiff as described above.

       23.       At all times relevant to this Complaint, the aforementioned employee and/or agent

of Defendant Walmart who crashed the fork-lift or pallet jack device into the boxes of big screen

television sets that were pushed over into Plaintiff, as described above, was an employee and/or

agent, express or implied, of Defendant Walmart, acting within the scope of her employment

and/or agency.

       24.       At all times relevant to this Complaint, Plaintiff was a business invitee of

Defendant Walmart for the purpose of shopping for the merchandise for sale to the general public

at The Walmart Store.

       25.       Defendant Walmart had a duty to exercise reasonable care in keeping those areas

of its retail store that customers such as Plaintiff used or might use in a safe condition, to operate

and maintain in a safe and proper manner the retail store where the above described incident

occurred, to supervise, instruct and control its employees and/or agents to never use heavy

equipment or move or organize merchandise on display in the public areas of the store in any

way that created dangerous or hazardous conditions for its business invitees or members of the

general public, to operate equipment and devices in the public areas of The Walmart Store in a



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safe, prudent and reasonable manner, and to maintain control of the store premises and business

equipment and/or machinery so as to prevent retail merchandise from collapsing or falling into

Plaintiff or business invitees or other members of the public.

        26.     Defendant Walmart had the additional duty to protect Plaintiff and other invitees

from all unreasonable risks and unsafe and dangerous conditions it knew or should have known

about, including the use and/or improper use of heavy machinery or equipment in the areas of the

store where and when Plaintiff or other business invitees or members of the public were or would

be shopping, and the display or storage of store merchandise in a manner that exposed Plaintiff

or other business invitees or members of the public to unreasonable risks and unsafe and

dangerous conditions, and any unreasonable risk of injury, harm and/or damages.

        27.     Defendant Walmart breached this duty of care by failing to operate the retail store

where the above described incident occurred in a safe and proper manner; by operating business

equipment in an improper, unsafe, dangerous, reckless and careless manner; by displaying retail

merchandise in an improper, unsafe and dangerous manner; by failing to safely secure and

control retail merchandise in a manner so as not to collapse or fall into Plaintiff or other members

of the public, who were business invitees shopping in an expected fashion; by failing to maintain

appropriate clearance in areas where it was operating fork-lift or pallet jack equipment; by failing

to appropriately and safely operate its fork-lift or pallet jack equipment; by crashing into the

stack of television set boxes as describes herein, by failing to control its fork-lift or pallet jack

equipment to avoid collision, by operating its fork-lift or pallet jack equipment at a rate of speed

greater than was safe under the conditions at the time, by operating its fork-lift or pallet jack

equipment in a reckless, negligent and careless manner, by failing to keep a proper lookout while

operating its fork-lift or pallet jack equipment, by failing to pay attention to merchandise and



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objects in front of its fork-lift or pallet jack equipment, by failing to stop before colliding with

the stack of television set boxes as described herein, by failing to adequately train or supervise its

employee/agent-operator on the use of fork-lift or pallet jack equipment; by failing to prevent

heavy merchandise from falling into the Plaintiff; by failing to warn Plaintiff that Defendant’s

use of the fork-lift or pallet jack equipment could cause injury or risk of injury to occur; by

allowing Plaintiff and others into the retail store areas where the use of the fork-lift or pallet

equipment was ongoing; by allowing Plaintiff and others into the retail store where the heavy

merchandise was being moved; by failing to use reasonable care to prevent heavy merchandise

from falling into Plaintiff; by recklessly and negligently failing to prevent said heavy television

sets from falling into Plaintiff, by disregarding the safety and well-being of Plaintiff and others;

and by failing to exercise the degree of care required under the circumstances.

        28.     As a direct and proximate result of Defendant Walmart failing to exercise

reasonable care, failing to exercise the degree of care required under the circumstances, failing to

warn, failing to prevent the harm caused by said heavy merchandise falling into Plaintiff, failing

to protect Plaintiff from the unsafe and improper use of Defendant’s business equipment, failing

to keep the premises where Plaintiff was an invitee safe, and the other breaches as described

above, Plaintiff sustained and suffered serious temporary and permanent injuries to her hand and

finger and has incurred substantial and legally compensable damages, including temporary and

permanent bodily injury, scarring, loss of use, reduced use and limitation, pain and suffering,

inconvenience, loss of enjoyment of life, embarrassment, emotional anguish and distress, past

and future costs of medical treatment and physical therapy, and other economic and non-

economic losses and damages.




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        29.    All such injuries and damages were caused solely by the negligence of Defendant

Walmart, without any negligence on the part of Plaintiff or anyone else contributing thereto.

        WHEREFORE, Plaintiff Amethyst K. Caldwell demands judgment against Defendant

Walmart Inc. in an amount that exceeds Seventy Five Thousand Dollars ($75,000.00) in

compensatory damages, plus interest and costs, and any other relief to which the Court finds she

is entitled.

                                 DEMAND FOR JURY TRIAL

        Plaintiff Amethyst K. Caldwell respectfully demands that this action be tried before a

jury.

                                      Respectfully submitted,



                                      /s/ Timothy M. Gunning
                                      Timothy M. Gunning
                                      AIS No: 9012180278
                                      John M. McGraw
                                      AIS No: 0312170040
                                      Wyatt & Gunning LLC
                                      100 W. Pennsylvania Avenue, Suite 10
                                      Towson, Maryland 21204
                                      410-296-5960
                                      Fax 410-296-3443
                                      tgunning@wyattgunning.com

                                      Attorneys for Plaintiff Amethyst K. Caldwell




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                CERTIFICATE OF COMPLIANCE WITH RULE 20-201(h)

       I hereby certify, pursuant to Maryland Rule 20-201(h), that this submission does not

contain “restricted information” as defined in Rule 20-101(r).

                                     /s/ Timothy M. Gunning
                                     Timothy M. Gunning




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